            Case 2:06-cr-00038-RSM          Document 95       Filed 06/06/06     Page 1 of 3



 1                                                              Judge Ricardo S. Martinez
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 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT SEATTLE
10

11   The UNITED STATES of AMERICA,               )
                                                 )
12                         Plaintiff,            )       No. CR06-38RSM
                                                 )
13                 v.                            )
                                                 )       ORDER
14   KAVEL MULTANI a/k/a YGURU,                  )       CONTINUING TRIAL
     JATINDER BRAR,                              )       DATE AND PRE-TRIAL
15   SUKHVEER SANDHU,                            )       MOTIONS DEADLINE
     AMARDEEP POWAR,                             )
16   RAMAN PATHANIA,                             )
     NIZAR SABAZ-ALI,                            )
17   HARMINDER SINGH,                            )
     LAWRENCE CARTER,                            )
18   SANDIP PARHAR,                              )
     STORMY WALKER, and                          )
19   HARJEEVAN PARHAR,                           )
                                                 )
20                      Defendants.              )
21          THIS MATTER comes before the Court on a defendant Sandhu’s motion to
22   continue the trial date and the pre-trial motions deadline. The government and the
23   defendants currently within the jurisdiction of this Court, including: Jatinder Brar,
24   Lawrence Carter, Harjeevan Parhar, Raman Pathania, and Harminder Singh have no
25   objection to the continuance, and have filed waivers of speedy trial. The remaining
26   defendants: Stormy Walker, Sandip Parhar, Amardeep Powar, Nizar Sabaz-Ali and Kavel
27   Multani are currently residing in Canada while the government seeks their extradition to the
28   United States for prosecution, therefore they are not parties to this motion.
     Order Continuing Trial and Motions
     Deadline/Multani, et al./CR06-38RSM –1                                           UNITED STATES ATTORNEY
                                                                                       601 UNION STREET, SUITE 5100
                                                                                     SEATTLE, WASHINGTON 98101-3903
                                                                                              (206) 553-7970
            Case 2:06-cr-00038-RSM         Document 95      Filed 06/06/06    Page 2 of 3



 1          Having considered the entirety of the record and files herein, the Court finds that
 2   failure to grant a continuance would likely result in a miscarriage of justice. The case is
 3   complex involving eleven defendants, over two thousand pages of discovery and over
 4   three thousand intercepted telephone conversations.
 5          It is unreasonable to expect adequate preparation before the current trial date of
 6   June 5, 2006. The Court further finds that the interests of the public and the defendants
 7   in a speedy trial in this case are outweighed by the ends of justice.
 8          IT IS NOW, THEREFORE, ORDERED that trial is continued from June 5, 2006
 9   to September 5, 2006, and that the time between the date of this Order and the new trial
10   date be excludable time under the Speedy Trial Act pursuant to Title 18, United States
11   Code, Sections 3161(h)(8)(A), 3161(h)(8)(B)(i), and 3161(h)(8)(B)(ii).
12          IT IS FURTHER ORDERED that pre-trial motions shall be filed on or before
13   August 2, 2006.
14          Dated this 2nd day of June, 2006
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                                                       A
                                                       RICARDO S. MARTINEZ
19                                                     UNITED STATES DISTRICT JUDGE
     Presented by:
20

21   s/ Ye-Ting Woo
     YE-TING WOO
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23   United States Attorney's Office
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     (206) 553-2268, Fax: (206) 553-4440
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26   Washington State Bar No. 21208
27
     s/ Lisca Borichewski
28   LISCA BORICHEWSKI

     Order Continuing Trial and Motions
     Deadline/Multani, et al./CR06-38RSM –2                                       UNITED STATES ATTORNEY
                                                                                   601 UNION STREET, SUITE 5100
                                                                                 SEATTLE, WASHINGTON 98101-3903
                                                                                          (206) 553-7970
           Case 2:06-cr-00038-RSM       Document 95   Filed 06/06/06   Page 3 of 3



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     Order Continuing Trial and Motions
     Deadline/Multani, et al./CR06-38RSM –3                               UNITED STATES ATTORNEY
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